UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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   In Re:                                                      Confirmed Chapter 11

  DEONARINE PARASRAM D/B/A                                     Case No. 16-42657 (CEC)
  VANDI SALES D/B/A
  PARASRAM STORE,

                                                 Debtor.

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RANDY BRISMAN, AS PLAN PROPONENT

                                        Plaintiff,
                      -against-                                Adv. Pro. No. 18-01112


SURESH N. PERSUAD AND
HAMIRAJ PERSUAD,
                                     Defendants,

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                                     AMENDED SCHEDULING ORDER
          Upon the motion of Randy Brisman objecting to the scheduled claim of Hamiraj Persaud

 filed in the above captioned bankruptcy case (ECF No. 241) (the “Motion”); and upon the

 complaint filed by Randy Brisman against Suresh N. Persaud and Hamiraj Persaud in the above

 captioned adversary proceeding (the “Adversary Proceeding”); and upon the hearing held on

 October 31, 2018, the Court having Ordered to complete discovery by January 31, 2019 and to

 have hearing on any dispositive motion on February 6, 2019; and now on the Joint Motion to

 extend the time to complete discovery by March 1, 2019, nunc pro tunc, and accordingly schedule

 a date for hearing on any dispositive motion, it is hereby


         ORDERED, that all discovery shall be completed by April 30, 2019; and it is further
       ORDERED, that the hearing on the Motion and the pre-trial conference on the Adversary

Proceeding are adjourned to May 22, 2019 at 300 p.m.; and it is further


       ORDERED, that a hearing on any dispositive motion shall held on May 22, 2019 (CEC) at

3:00 p.m. in Courtroom 3529 at the United States Bankruptcy Court for the Eastern District of New

York, 271-C Cadman Plaza East, Brooklyn, New York, 11201; and it is further


       ORDERED, that the dispositive motions shall be filed and served in accordance with

applicable rules, and any papers that are untimely filed in connection thereto shall not be considered

by the Court.




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  Dated: Brooklyn, New York                                             Carla E. Craig
         March 13, 2019                                         United States Bankruptcy Judge
